    Case: 3:22-cv-50236 Document #: 35 Filed: 06/10/23 Page 1 of 2 PageID #:684




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                        WESTERN DIVISION
Amber Knautz, individually and on behalf of                          3:22-cv-50236
all others similarly situated,
                                   Plaintiff,                    Hon. Iain D. Johnston

                     - against -                             Notice of Voluntary Dismissal

Walmart Inc.,
                                   Defendant

         Plaintiff gives notice that this action is voluntarily dismissed with prejudice. Fed. R. Civ.

P. 41(a)(1)(A)(i).

Dated:     June 10, 2023
                                                           Respectfully submitted,

                                                           Sheehan & Associates, P.C.
                                                           /s/Spencer Sheehan
                                                           Spencer Sheehan
                                                           spencer@spencersheehan.com
                                                           60 Cuttermill Rd Ste 412
                                                           Great Neck NY 11021
                                                           Tel: (516) 268-7080
    Case: 3:22-cv-50236 Document #: 35 Filed: 06/10/23 Page 2 of 2 PageID #:685




                                       Certificate of Service

I certify that on June 10, 2023, I served and/or transmitted the foregoing by the method below to
the persons or entities indicated, at their last known address of record (blank where not applicable).

                                    CM/ECF            First-Class         Email             Fax
                                                         Mail
 Defendant’s Counsel                    ☒                  ☐                ☐               ☐
 Plaintiff’s Counsel                    ☒                  ☐                ☐               ☐
 Courtesy Copy to Court                 ☐                  ☐                ☐               ☐


                                                            /s/ Spencer Sheehan




                                                  2
